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                          THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION
DR. MICHAEL B. CANALES,                              )
JOHN DOE 20,                                         )      Case No. 2:21-cv-02562-MHW-EPD
                                                     )
                Plaintiffs,                          )      Judge Michael H. Watson
                                                     )
v.                                                   )      Chief Magistrate Judge Elizabeth P.
                                                     )      Deavers
THE OHIO STATE UNIVERSITY,                           )
                                                     )
               Defendant.                            )

                DEFENDANT THE OHIO STATE UNIVERSITY’S
     REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

I.     INTRODUCTION.

       Plaintiffs have filed a motion (Doc. 11) asking the Court to accept their late-filed

opposition brief to Ohio State’s motion to dismiss (Doc. 9), and have attached the opposition

brief to the motion (Doc. 11). Contrary to plaintiffs’ representation, plaintiffs’ 29-page

opposition brief was ten days late (not two days late). Nonetheless, for purposes of judicial

efficiency, Ohio State files this, its legal reply brief in support of its motion to dismiss to respond

to plaintiffs’ legal arguments.

       Plaintiffs’ opposition brief lacks substantive merit. Plaintiffs’ opposition does not dispute

that a two-year statute of limitations applies to their Title IX claims. Plaintiffs also admit “[i]t is

undisputed that the acts of Dr. Strauss occurred years ago.” Opp. (Doc. 11) at 20. These

admissions are dispositive of the statute of limitations issue because courts consistently hold that

Title IX claims accrue at the time of the alleged abuse.

       In regard to their fraudulent concealment claim, plaintiffs admit that fraudulent

concealment is not an independent cause of action. Plaintiffs also make no attempt to distinguish

the numerous authorities cited in Ohio State’s motion to dismiss that fraudulent-concealment
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tolling of the statute of limitations does not apply where, as here, plaintiffs’ allegations establish

that they knew or reasonably should have known of their injuries at the time of the alleged abuse.

       In regard to their Title IX retaliation claim, plaintiffs admit they cannot state such a claim

unless they suffered a school- or education-related retaliatory action. Here, that is impossible. It

is undisputed that plaintiffs were former students in the summer of 2018, when the alleged

retaliatory acts began. Plaintiffs also continue to base their retaliation claim on alleged conduct

directed at unidentified plaintiffs or individuals who are not plaintiffs in this lawsuit, and conduct

allegedly committed by Ohio State “former employees, friends, and/or benefactors” whose

actions cannot be imputed to Ohio State.

       Finally, plaintiffs make no attempt to refute the cases decided by this Court cited in Ohio

State’s motion to dismiss holding that Eleventh Amendment sovereign immunity bars plaintiffs’

Section 1983 claims.

II.    PLAINTIFFS’ TITLE IX CLAIMS ARE BARRED BY THE TWO-YEAR
       STATUTE OF LIMITATIONS.

       A.      Courts Routinely Dismiss Title IX Claims Based On The Statute Of
               Limitations.

       Plaintiffs admit that a two-year statute of limitations governs their Title IX claims. Opp.

(Doc. 11) at 17-18. They also do not dispute that dismissal is warranted if “the complaint shows

conclusively on its face that the action is time-barred.” Id. at 16 (citing Allen v. Andersen

Windows, Inc., 913 F.Supp.2d 490, 500 (S.D. Ohio 2012)).               Plaintiffs additionally state,

however, that it is “inappropriate to dismiss an action on statute of limitations grounds on a Rule

12(b)(6) motion.” Id. (citing Cataldo v. U.S. Steel Corp., 676 F.3d 542 (6th Cir. 2012)).

Plaintiffs citations to Cataldo and Allen do not assist them because both cases dismissed or

affirmed dismissals pursuant to Rule 12(b)(6) based on the applicable statute of limitations.




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        Consistent with Cataldo and Allen, Courts routinely grant Fed. R. Civ. P. 12(b)(6)

motions to dismiss claims that are barred by the statute of limitations. Numerous courts,

including those cited in Ohio State’s motion to dismiss, have dismissed Title IX claims pursuant

to Rule 12(b)(6) or Rule 12(c) because the pleadings, like plaintiffs’ complaint here,

affirmatively demonstrated that the Title IX claims were time-barred. All apply, and plaintiffs

cannot avoid them. See, e.g., Gilley v. Dunaway, 572 F. App’x 303, 308-309 (6th Cir. 2014);

Giffin v. Case W. Reserve Univ., No. 98-3267, 1999 WL 238669, at *1 (6th Cir. Apr. 13, 1999);

Bowling v. Holt Pub. Sch., No. 1:16-CV-1322, 2017 WL 4512587, at *2-3 (W.D. Mich. May 26,

2017); Anderson v. Bd. of Educ. of Fayette Cty., 616 F. Supp. 2d 662, 671 (E.D. Ky. 2009);

Bannister, et al. v. Knox County Board of Education, et al., No. 3:18-CV-188, 2021 WL

2685193, at *7 (E.D. Tenn. June 30, 2021); Forrester v. Clarenceville Sch. Dist., No. 20-12727,

2021 WL 1812700, at *4-7 (E.D. Mich. May 6, 2021).1

        B.       Plaintiffs Misstate the Fed. R. Civ. P. 12(B)(6) Standard.

        Plaintiffs misstate the Rule 12(b)(6) standard governing dismissal of their Title IX claims

based on the statute of limitations. While plaintiffs reference Iqbal and Twombly’s plausibility


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 See also Doe v. Univ. of S. California, No. 218CV09530SVWGJS, 2019 WL 4229750, at *3-7 (C.D. Cal. July 9,
2019); Doe v. Univ. of S. California, No. 218CV09530SVWGJS, 2019 WL 4228371, at *3-7 (C.D. Cal. Apr. 18,
2019); King-White v. Humble Indep. Sch. Dist., 803 F.3d 754, 761-765 (5th Cir. 2015); Twersky v. Yeshiva Univ.,
993 F. Supp. 2d 429, 433, 440-441 (S.D.N.Y.), aff’d, 579 F. App’x 7, *9-10 (2d Cir. 2014), cert. denied, 575 U.S.
935 (2015); Doe v. Howe Military Sch., 227 F.3d 981, 987-989 (7th Cir. 2000); Johnson v. Gary E. Miller Canadian
Cty. Children's Juvenile Justice Ctr., No. CIV-09-533-L, 2010 WL 152138, at *2 (W.D. Okla. Jan. 14, 2010);
Clifford v. Regents of Univ. of California, No. 2:11-CV-02935-JAM, 2012 WL 1565702, at *6-7 (E.D. Cal. Apr. 30,
2012), aff’d, 584 F. App’x 431 (9th Cir. 2014); Singleton v. Chicago Sch. Reform Bd. of Trustees of Bd. of Educ. of
City of Chicago, No. 00C395, 2000 WL 777925, at *19-20 (N.D. Ill. June 13, 2000); Ikedilo v. Statter, No. 19-CV-
9967 (RA), 2020 WL 5849049, at *7 (S.D.N.Y. Sept. 30, 2020); Washington v. Univ. of Maryland, E. Shore, No.
CV RDB-19-2788, 2020 WL 5747199, at *1, *5 (D. Md. Sept. 24, 2020); Doe v. Colorado Cmty. Coll. Sys., No. 18-
CV-1068-WJM-NRN, 2020 WL 5320810, at *1 (D. Colo. Sept. 4, 2020); Mazza v. Tarleton State Univ.-Waco, No.
619CV00373ADAJCM, 2020 WL 5997049, at *3-4 (W.D. Tex. Aug. 20, 2020), report and recommendation
adopted, No. 6-19-CV-00373-ADA, 2020 WL 5984060 (W.D. Tex. Oct. 8, 2020), appeal dismissed, No. 20-50931,
2021 WL 1922832 (5th Cir. Mar. 25, 2021); Burke v. Basil, No. SACV20635JVSJDEX, 2020 WL 4435138, at *8
(C.D. Cal. July 23, 2020); Kirby v. North Carolina, No. 5:20-CV-344-BO, 2021 WL 149007, at *3 (E.D.N.C. Jan.
15, 2021); Celece v. Dunn Sch., No. CV2010139GWPVCX, 2020 WL 6802027, at *6 (C.D. Cal. Nov. 19, 2020);
Franco v. Mesa Pub. Sch., No. CV-20-01129-PHX-DJH, 2020 WL 7388489, at *3-5 (D. Ariz. Dec. 16, 2020).



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standard, they also cite to no longer existing law that “a Rule 12(b)(6) motion should not be

granted unless it appears beyond doubt that the plaintiff can prove no set of facts in support of

his claim which would entitle him to relief.”2 Opp. (Doc. 11 at 17 (quoting Ricco v. Potter, 377

F.3d 599, 602 (6th Cir. 2004)). See Twombly v. Bell Atl. Corp., 550 U.S. 544, 563 (2007)

(stating that the prior “no set of facts” Rule 12(b)(6) standard “has earned its retirement”).

        To avoid a Rule 12(b)(6) dismissal under Twombly and Iqbal, the correct standard,

plaintiffs must allege that the timeliness of their claims is not merely “possible,” but “plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Twombly, 550 U.S. at 570. The

plausibility analysis is a “context-specific task that requires the reviewing court to draw on its

judicial experience and common sense.”                Iqbal, 550 U.S. at 679.          Plaintiffs’ “conclusory

allegations or legal conclusions masquerading as factual conclusions will not suffice to prevent a

motion to dismiss.” Mezibov v. Allen, 411 F.3d 712, 716 (6th Cir. 2005). The Court also “need

not accept conclusory allegations or indulge in unreasonable inferences.” HMS Prop. Mgmt.

Grp., Inc. v. Miller, 69 F.3d 537, at *3 (6th Cir. 1995).

        C.       The Discovery Rule Does Not Apply.

        Plaintiffs contend that the Supreme Court’s rejection of the discovery rule in Rotkiske v.

Klemm is distinguishable because “the plain text of the statute in that case involved a statute

which unambiguously set the date of the violation that started the statute of limitations to run.”

Opp. (Doc. 11) at 21. Plaintiffs are incorrect.

        Rather than limit its criticism of the discovery rule to the Fair Debt Collections Practices

Act (“FDCPA”), the Supreme Court in Rotkiske broadly characterized the discovery rule as a


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  While acknowledging that federal law governs both the Rule 12(b)(6) dismissal standard and when a Title IX
claim accrues, plaintiffs also improperly cite to inapplicable Ohio Supreme Court cases. See Opp. (Doc. 11) at 14 &
19 (citing Fletcher v. Univ. Hosp. of Cleveland, 120 Ohio St. 3d 167 (2008) and Flagstar Bank, F.S.B. v. Airline
Union’s Mtge. Co., 128 Ohio St. 3d 529 (2011)).


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“bad wine of recent vintage.” Rotkiske, 140 S. Ct. at 361. The majority opinion in Rotkiske was

authored by Justice Thomas, who was quoting Justice Scalia’s concurring opinion in TRW Inc. v.

Andrews, 534 U.S. 19 (2001). Id. In TRW, the majority opinion noted that “while many federal

courts ‘apply a discovery accrual rule when a statute is silent on the issue,’ the Court ‘has not

adopted that position as [its] own.’” See Forrester v. Clarenceville Sch. Dist., No. 20-12727,

2021 WL 1812700, at *4 (E.D. Mich. May 6, 2021) (quoting TRW, 534 U.S. at 27). Seven

justices of the Supreme Court—Roberts, Breyer, Alito, Sotomayor, Kagan, Gorsuch, and

Kavanaugh—joined in Justice Thomas’ majority opinion in Rotkiske, for a total of eight out of

nine justices agreeing that the discovery rule is a “bad wine of recent vintage.”

       Plaintiffs do not dispute that neither the Supreme Court nor the Sixth Circuit has ever

held that the discovery rule applies to claim accrual under Title IX. As discussed in Ohio State’s

motion to dismiss, Rotkiske’s broad warning to courts not to “read in” the discovery rule to

“enlarge[] federal statutes” has garnered the Sixth Circuit’s recent attention with respect to

claims brought pursuant to Section 1983 which, like Title IX, does not contain an express statute

of limitations and borrows the state personal injury limitations period. See Forrester, 2021 WL

1812700, at *3. This year, the Sixth Circuit confirmed in a case involving Section 1983 claims

that there is no longer any presumption favoring the discovery rule and expressly questioned

whether “our cases imbibing this ‘bad wine’ warrant reconsideration” in light of Rotkiske. See

Dibrell v. City of Knoxville, Tennessee, 984 F.3d 1156, 1162 (6th Cir. 2021) (holding plaintiff’s

Section 1983 claims were untimely under both the standard and discovery accrual rules).

       Ohio’s two-year personal injury statute of limitations, from which both Title IX and

Section 1983 borrow, requires that an action be brought within a period of years after the cause

of action “accrues.” See Everly v. Everly, 958 F.3d 442, 460-461 (6th Cir. 2020) (quoting 17




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U.S.C. § 507(b)); Sykes v. United States, 507 F. App’x 455, 462 (6th Cir. 2012); OHIO REV.

CODE § 2305.10(A). The Supreme Court has “repeatedly said” that “the plain meaning of

‘accrue’ triggers the occurrence rule,” in which the statute of limitations begins to run when a

violation of the plaintiff’s legal right has occurred, not later when the plaintiff discovers or

should have discovered the cause of action. See Everly, 958 F.3d at 460, 462 (citing Gabelli v.

S.E.C., 568 U.S. 442, 448 (2013); U.S. v. Lindsay, 346 U.S. 568, 569 (1954); Fisher v. Whiton,

317 U.S. 217, 221 (1942)). The accrual rule fosters “basic policies of all limitations provisions:

repose, elimination of stale claims, and certainty about a plaintiff’s opportunity for recovery and

a defendant’s potential liabilities.” Gabelli, 568 U.S. at 448 (citation omitted). Plaintiffs’ Title

IX claims accrued when Strauss is alleged to have abused them.3

         D.       Plaintiffs Pled They Were Aware Or Suspicious That The Claimed Acts
                  Were Abusive At The Time They Occurred.

         As discussed, the discovery rule does not apply. Even applying the discovery rule,

however, plaintiffs’ Title IX claims are time-barred. Plaintiffs do not dispute the discovery rule

principles set forth in Ohio State’s motion to dismiss. See MTD (Doc. 9) at 11-16. Based on

those principles, plaintiffs’ argument that “Plaintiffs did not and could not reasonably have

known that the medical treatment they were receiving from Dr. Strauss was sexual misconduct”

until May 2019 when the Perkins Coie Report was published is not plausible. Opp. (Doc. 11) at

20. Plaintiffs allege all of the following:

         Plaintiff Dr. Canales
         (1) Despite seeing Strauss for “a physical injury and/or sickness,” plaintiff Dr. Canales
             alleges Strauss “sexually assaulted him” by “excessively fondling Plaintiff Canales
3
  Plaintiffs’ additional argument that Rotkiske is distinguishable because a fraud-specific discovery rule applies to
delay the commencement of the statute of limitations lacks merit. See Opp. (Doc. 11) at 21. While the Rotkiske
Court held that the fraudulent-concealment tolling issue had not been preserved, the Court also stated that it was not
deciding whether such tolling was permitted under the Fair Debt Collection Practices Act or whether the plaintiff’s
claim fell within the scope of such tolling doctrine. Rotkiske, 140 S. Ct. at 361 n.3. As discussed in Ohio State’s
motion to dismiss and below, fraudulent-concealment tolling does not apply to toll the statute of limitations on
plaintiffs’ Title IX claims here. See MTD (Doc. 9) at 16-18; infra Section III.


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          testicles in one of Dr. Strauss’ hands as Dr. Strauss maneuvered Plaintiff Canales’
          penis in Dr. Strauss’ other hand,” Compl. (Doc. 1) at ¶¶ 47-48;
      (2) At the time of the abuse, plaintiff Dr. Canales admits he believed Strauss was “trying
          to arouse Plaintiff Canales,” id. at ¶ 48;
      (3) “Plaintiff Canales states that Dr. Strauss would regularly inquire about his sexual
          activity,” id. at ¶ 49; and
      (4) Plaintiff Dr. Canales does not dispute he is a medical professional himself, see OSU
          MTD (Doc. 9) at 13.

      Plaintiff John Doe 20
      (1) Despite seeing Strauss for “various illnesses/injuries,” plaintiff John Doe 20 alleges
          Strauss “attempted to masturbate him” and “manipulate Plaintiff John Doe 20’s penis
          in an excessive manner,” Compl. (Doc. 1) at ¶ 53;
      (2) At the time of the abuse, plaintiff John Doe 20 admits he believed Strauss was
          attempting “to arouse his penis,” id.;
      (3) Plaintiff John Doe 20 was examined by Strauss “over thirty (30) times in his career at
          OSU,” but admits Strauss “attempted to masturbate him on at least six (6) occasions,”
          id.—indicating that John Doe 20 was able to distinguish between conduct that was
          inappropriate or abusive and conduct that was not;
      (4) “Strauss never wore medical gloves during any of his examinations,” id. at ¶ 54; and
      (5) “Dr. Strauss always seemed to be the first guy into the showers and the last guy to
          leave the showers at Larkins Hall. Also, on numerous occasions, Dr. Strauss would
          leave to take a second shower if a new group of athletes entered the shower area,” id.
          at ¶ 55.

      Both Plaintiffs
      (1) Both plaintiffs characterize the abuse they experienced from Strauss as “heinous” and
          “abhorrent,” Opp. (Doc. 11) at 1, 19-20;
      (2) Both plaintiffs allege that “Plaintiffs had a strong inclination that Dr. Strauss’ exams
          were medically inappropriate,” Compl. (Doc. 1) at ¶ 82;
      (3) Both plaintiffs allege Strauss “regularly administer[ed] Anabolic Steroids” to athletes,
          id. at ¶ 152;
      (4) Both plaintiffs allege that the abuse by Strauss and the sexually hostile environment
          at Larkins Hall were “so severe, pervasive, and objectively offensive” that they
          caused both plaintiffs to “suffer[] and continue to suffer emotional distress, physical
          manifestations of emotional distress, mental anguish, fear, depression, anxiety,
          trauma, disgrace, embarrassment, shame, humiliation, loss of self-esteem, and loss of
          enjoyment of life,” id. at ¶¶ 123-124, 126, 130, 139, 147(c), 180;
      (5) Neither plaintiff disputes that, as a national, Olympic, and/or state champion or
          placer, he was examined by other physicians both prior to, during, and subsequent to
          their examinations by Strauss, and was able to compare appropriate conduct by
          physicians with the alleged inappropriate conduct by Strauss, id. at ¶¶ 45-46, 51-52;
          see also MTD (Doc. 9) at ¶ 13;
      (6) Both plaintiffs allege that Strauss’ conduct was so “rampant,” “pervasive,” and
          “widespread” that both Strauss’ conduct and Ohio State’s deliberate indifference to it
          were “commonly known information” among students and student-athletes at Ohio



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           State, Compl. (Doc. 1) at ¶¶ 24(b), 36, 102, 123, 126, 130, 139, 157, 159;
       (7) Both plaintiffs allege that Strauss’ conduct was so objectively inappropriate that
           students and student-athletes made “repeated and numerous complaints” to Ohio State
           officials, administrators, employees, and coaches, id. at ¶¶ 22, 24(d)-(e), 32, 36, 115,
           118(f), 131; and
       (8) Both plaintiffs do not dispute that they knew Ohio State was Strauss’ employer, MTD
           (Doc. 9) at 15.

       The above allegations affirmatively establish that each plaintiff knew, or a reasonable lay

person would, at a minimum, have been suspicious, of possible abuse, thereby triggering his

duty to investigate and protect his rights. See United States v. Kubrick, 444 U.S. 111, 123 (1979)

(a plaintiff who is unsure about whether conduct by a government physician constitutes a tort

against him “can protect himself by seeking advice in the medical and legal community. To

excuse him from promptly doing so by postponing the accrual of his claim would undermine the

purpose of the limitations statute, which is to require the reasonably diligent presentation of tort

claims against the Government.”); Twersky v. Yeshiva Univ., 993 F. Supp. 429, 440 (S.D.N.Y.

2014) (“The plaintiffs were aware of their abuse at the time it occurred, and of the identity of

their abusers and those who employed them—thus, had the plaintiffs approached an attorney [],

they could have brought their claims under Title IX.”).

       Plaintiffs’ allegations also contradict their conclusory position that they were unaware or

did not suspect Strauss abused them until decades later, and should not be accepted by the Court.

See, e.g., Doe v. Univ. of S. California, No. 218CV09530SVWGJS, 2019 WL 4228371, at *4

(C.D. Cal. Apr. 18, 2019) (“Plaintiff’s argument that she could not have discovered Dr. Tyndall’s

examination constituted sexual misconduct until 2018 is implausible, since Plaintiff undoubtedly

had further gynecological examinations by other medical professionals after Dr. Tyndall over the

27 years since and would have had a basis to conclude that Dr. Tyndall’s conduct fell outside of

medically acceptable standards.”); Doe v. Pasadena Hosp. Assn., Ltd., 2020 WL 1529313, *5




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(C.D. Cal. Mar. 31, 2020) (“[T]he Court need not blindly accept Plaintiff’s allegation that she

only became aware of” sexual abuse by her gynecologist when a newspaper published a report

about the physician’s misconduct “because the factual allegations directly contradict such an

assertion”); USC, 2019 WL 4228371, at *4 (“The fact that Plaintiff only learned [in 2018] that

she was not the only female patient abused by Dr. Tyndall [during a gynecological exam] does

not affect Plaintiff’s knowledge of the abuse she received back in 1991”); Doe v. Kipp DC

Supporting Corp., 373 F. Supp. 3d 1, at *8 (D.D.C. 2019) (holding that the discovery rule did not

delay accrual of a claim where a survivor of sexual abuse “recall[ed] that abuse but d[id] not

appreciate its wrongfulness” at the time).

       Tellingly, plaintiffs do not cite any case involving Title IX claims to support their

position that they were unaware Strauss abused them at the time it occurred. Instead, they

misstate Ohio State’s reliance on certain cases cited in its motion to dismiss as follows:

       (1)     Plaintiffs incorrectly state that the Title IX claim in Giffin v. Case W. Reserve
       Univ., 181 F.3d 100 (6th Cir. 1999) was dismissed “because the plaintiffs failed to state a
       claim under Title IX, not because the claims were time-barred.” Opp. (Doc. 11) at 22.
       As copied verbatim from the Sixth Circuit’s opinion: “The order of dismissal was
       predicated on the district court’s determination that the suit was filed after the two-year
       statutory period had run, rejecting the plaintiff’s claim that the University was guilty of a
       continuing violation of Title IX due to its failure to promulgate a ‘consensual sexual
       relations’ policy.” Id. at *1. The Sixth Circuit affirmed, holding: “The district court’s
       analysis of the effect of the statute of limitations was correct in all respects.” Id.

       (2)     In Adams v. Ohio University, 300 F. Supp. 3d 983 (S.D. Ohio 2018), the court
       found that “[t]he underlying harm in Plaintiffs’ complaint is the sexual harassment that
       occurred against each of them[.]” Id. at 996. The Adams court held that plaintiffs’ Title
       IX injuries accrued when they were sexually harassed by their professor, which, unlike
       plaintiffs here, had occurred within two years of the filing of the complaint. Id. The
       difference between Adams and the instant matter is that for purposes of the accrual of the
       Title IX claim in Adams, the harassment at issue did not involve remote-in-time
       allegations of abuse like plaintiffs’ claims here. See id. at 989, 991, 993.

       (3)    Plaintiffs are incorrect in stating that the dismissal in Anderson v. Bd. of Educ. of
       Fayette Cty., 616 F. Supp. 2d 662 (E.D. Ky. 2009) “was based upon deficient pleadings.”
       Opp. (Doc. 11) at 22. In fact, the court in Anderson dismissed the plaintiffs’ Title IX and



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          Section 1983 claims with prejudice as barred by the statute of limitations. Id. at 671.

          (4)     Plaintiffs’ effort to distinguish the court’s dismissal of Title IX claims based on
          the statute of limitations in Gilley v. Dunaway, 572 F. App’x 303 (6th Cir. 2014) also
          fails. In Gilley, the Sixth Circuit held that the plaintiff’s Title IX claims accrued at the
          time of the alleged abusive acts by her high school coach (tolled until she reached the age
          of majority); fraudulent-concealment tolling of her claims did not apply; and the
          plaintiff’s claims were time-barred because she waited six years after Kentucky’s one-
          year limitations period had expired to sue.

          (5)     Plaintiffs are wrong that Bowling v. Holt Pub. Sch., No. 1:16-CV-1322, 2017 WL
          4512587 (W.D. Mich. May 26, 2017) “supports a conclusion that the continuing violation
          theory is applicable to the case at bar and precludes dismissal.” Opp. (Doc. 11) at 22.
          The court in Bowling dismissed the plaintiff’s Title IX claims with prejudice based on the
          statute of limitations, finding that the plaintiff’s Title IX claims “accrued at the latest” on
          the day of the last sexual assault against the plaintiff and that the continuing violation
          doctrine “does not apply.” Bowling, 2017 WL 2894491, at *2.4

          In fact, dismissal here based on the statute of limitations is even more appropriate than in

 the above-cited cases because both plaintiffs here, unlike the plaintiffs in those cases, allege all

 of the following: detailed and extensive facts demonstrating each plaintiff’s knowledge or

 suspicion of abuse and harm at the time of the abuse; widespread knowledge of the abuser’s

 inappropriate conduct at the time; widespread contemporaneous complaints about the abuser’s

 conduct; and that the school’s alleged indifference to the alleged abuse was widely known.5

          E.       Plaintiffs Were Aware Of The Claimed Causal Connection Between The
                   Alleged Abuse And Ohio State.

          Plaintiffs assert that even if they were aware or suspicious that Strauss may have abused

 them, their Title IX claims did not accrue until Perkins Coie issued its report in May 2019


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   Bowling is consistent with the Sixth Circuit’s observation that “Courts have been extremely reluctant to apply” the
 continuing violation doctrine “outside the context of Title VII.” Dibbern v. Univ. of Michigan, No. 12-15632, 2016
 WL 2894491, at *19 (E.D. Mich. May 18, 2016) (refusing to apply continuing violation doctrine to Title IX),
 quoting LRL Properties v. Portage Metro Hous. Auth., 55 F.3d 1097, 1105 n.3 (6th Cir. 1995); see also Haley v.
 Clarksville-Montgomery Cty. Sch. Sys., 353 F. Supp. 3d 724, 735 (M.D. Tenn. 2018) (“[C]ourts in this circuit and
 elsewhere have concluded that the doctrine indeed does not apply in Title IX cases. This Court agrees.”). In fact,
 “the Sixth Circuit has never before applied the continuing violations doctrine to Title IX claims.” Dibbern, 2016
 WL 2894491, at *19 (emphasis added).
 5
   Plaintiffs do not attempt to distinguish any of the numerous other cases cited in Ohio State’s motion to dismiss that
 dismissed Title IX claims as barred by the statute of limitations.


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 because it was not until then that plaintiffs became aware of Ohio State’s alleged “role in causing

 the abuse.” Opp. (Doc. 11) at 6-8, 11. Again, plaintiffs are incorrect.

          The Eastern District of Michigan’s recent May 6, 2021 opinion rejecting Title IX

 plaintiffs’ argument that “their claims did not accrue when they were injured, but instead when

 they learned in August 2020 that [their teacher] abused many students and school administrators

 were notified of the abuse and failed to stop it” is instructive. Forrester v. Clarenceville Sch.

 Dist., No. 20-12727, 2021 WL 1812700, at *5 (E.D. Mich. May 6, 2021). In Forrester, the court

 acknowledged that Rotkiske has created a “discrepancy” with decisions holding that the

 discovery rule applies, and held that “[e]ven if the discovery rule applied to Plaintiffs’ federal

 claims, the claims would accrue when Plaintiffs knew [their teacher] committed the abuse.” Id. at

 *6. The court cited numerous Supreme Court, Sixth Circuit, and district court decisions within

 the Sixth Circuit to support its holding that it is the “injury,” i.e., the “abuse,” not the plaintiffs’

 discovery of the other elements of the claim, including plaintiffs’ awareness of the “full extent”

 of the school’s deliberate indifference and “knowledge and culpability in failing to report or

 discipline” the abuser, that starts the running of the statute of limitations. Id.6 Based on the

 above-cited authorities, the Forrester court concluded that plaintiffs had a “complete and present

 cause of action” at the time of the abuse and that their Title IX claims arising from abuse which

 occurred more than three years prior to the filing of the complaint (the limitations period under

 Michigan’s personal injury statute) were time-barred. Id. at *7 (citing D’Ambrosio v. Marino,

 747 F.3d 378 (6th Cir. 2014)). Forrester also is consistent with the Sixth Circuit’s decision in



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   See Rotella v. Wood, 528 U.S. 549 (2000); Patterson v. Chrysler Grp., LLC, 845 F.3d 756 (6th Cir. 2017);
 DeShetler v. FCA US, LLC, 790 F. App’x 664 (6th Cir. 2019); Guy v. Mercantile Bank Mortg. Co., 711 F. App’x
 250 (6th Cir. 2017); Cooey v. Strickland, 479 F.3d 412 (6th Cir. 2007); Guy v. Lexington-Fayette Urban Cnty.
 Gov’t, 488 F. App’x 9, 15 (6th Cir. 2012); Anderson v. Bd. of Educ. of Fayette Cnty., 616 F. Supp. 2d 662 (E.D. Ky.
 2009); Bowling v. Holt Pub. Schs., 2017 WL 4512587 (W.D. Mich. May 26, 2017); Smith v. Tyler, 2021 WL
 1176048 (W.D. Ky. Mar. 29, 2021)).


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 Guy v. Lexington-Fayette Urban Cty. Gov’t, 488 F. App’x 9 (6th Cir. 2012), which held, in a

 Section 1983 case, that the limitations period begins running at the time of the abuse, not when

 the plaintiffs learned of the government’s involvement and facilitation of the abuse. Id. at 15.

        Plaintiffs do not dispute that, in the cases cited in Ohio State’s motion to dismiss, the

 ruling courts expressly rejected the same arguments plaintiffs make here—that accrual of their

 Title IX claims had been delayed because the plaintiffs alleged they lacked information about the

 schools’ roles in not preventing the claimed abuse or because the schools concealed it from

 plaintiffs. See MTD (Doc. 9) at 14-15 & n.3. In fact, dismissal is even more appropriate in this

 case because—in contrast to both plaintiffs here—none of the plaintiffs in the other cases alleged

 detailed and extensive facts demonstrating each plaintiff’s knowledge or suspicion of abuse and

 harm at the time of the abuse; widespread knowledge of the abuser’s inappropriate conduct;

 widespread contemporaneous complaints about the conduct; and that the school’s alleged

 indifference to the alleged abuse was widely known. Plaintiffs additionally do not attempt to

 refute the numerous cases cited in Ohio State’s motion to dismiss refusing to find delayed

 accrual of Title IX claims where, as here, plaintiffs allege they were aware of: the acts

 complained of, the abuser’s identity, and that the abuser was an employee of the school. See

 MTD (Doc. 9) at 15 & n.4.

 III.   PLAINTIFFS FAIL TO STATE A CLAIM FOR FRAUDULENT
        CONCEALMENT; FRAUDULENT-CONCEALMENT TOLLING DOES NOT
        APPLY.

        Plaintiffs do not dispute that fraudulent concealment is not an independent cause of

 action. MTD (Doc. 9) at 16. Accordingly, plaintiffs’ Third Cause of Action for fraudulent

 concealment should be dismissed.

        Plaintiffs’ various arguments that fraudulent-concealment tolling applies to extend the




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 statute of limitations on their Title IX claims also lack merit. Opp. (Doc. 11) at 24-28. First,

 plaintiffs’ opposition brief confirms that plaintiffs’ fraudulent-concealment tolling theory is

 based on the same alleged substantive wrongs supporting plaintiffs’ Title IX claims, i.e., Ohio

 State’s alleged “fail[ure] to act and report all the misconduct” and “deliberate indifference to the

 sexually hostile culture and sexual abuse suffered by Plaintiffs[.]” Id. at 6. As such, they do not

 support fraudulent-concealment tolling of the statute of limitations. See MTD (Doc. 9) at 16-18.

         Second, plaintiffs’ argument that they did not realize or suspect Strauss’ conduct might

 be abusive because Ohio State allegedly “concealed” or “hid the truth” from plaintiffs and/or that

 plaintiffs’ investigation of Ohio State’s conduct would have been “futile” (Opp. at 24-26) are

 contradicted by plaintiffs’ own detailed and extensive complaint allegations, as previously

 discussed above.7 Those allegations establish each plaintiff’s knowledge or suspicion of abuse

 and harm at the time of the abuse; widespread knowledge by students and student-athletes of

 Strauss’    inappropriate      conduct      and    the    environment       at   Larkins     Hall;    widespread

 contemporaneous complaints by students and student-athletes about Strauss’ conduct; and that

 Ohio State’s alleged indifference to such knowledge and complaints was widely known.

         Third, plaintiffs’ contentions that Ohio State’s misconduct could not have been

 discovered earlier by plaintiffs because Ohio State itself “did not know abuse had occurred” and

 “OSU had to hire an independent investigative team and obtain a voluminous report

 documenting abuse by Dr. Strauss involving over 177 students over the course of 20 plus years”

 do not support fraudulent-concealment tolling. Opp. (Doc. 11) at 24, 26-27. Plaintiffs conflate

 the Perkins Coie investigation with the principles governing claim accrual—which Perkins Coie

 did not address. The investigation regarding Ohio State’s knowledge and response to Strauss’


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  Plaintiffs inaccurately state that “Defendant OSU does not deny that it fraudulently concealed information from the
 Plaintiffs[.]” Opp. (Doc. 11) at 19.


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 conduct decades ago does not alter plaintiffs’ own factual allegations, which affirmatively

 demonstrate their awareness of the abuse and harm they suffered at the time.               Based on

 plaintiffs’ own allegations, it is impossible for plaintiffs not to have been at least suspicious of a

 possible injury, thereby triggering their own duty to investigate whether they were, in fact,

 injured. Further, the challenge to the current Ohio State administration and the Perkins Coie

 investigators in attempting to reconstruct what happened decades ago highlights a primary

 purpose behind the statute of limitations bar. See Am. Pipe & Const. Co. v. Utah, 414 U.S. 538,

 554 (1974) (statutes of limitations are “designed to promote justice by preventing surprises

 through the revival of claims that have been allowed to slumber until evidence has been lost,

 memories have faded, and witnesses have disappeared”); see also Gilley, 572 F. App’x at 308

 (“If the Board had been truly trying to conceal its knowledge from [plaintiff], ... it would not

 have conducted an investigation at all.”)

        Plaintiffs do not attempt to distinguish the numerous cases cited in Ohio State’s motion to

 dismiss that fraudulent-concealment tolling does not apply here. See MTD (Doc. 9) at 18 & n.6.

 Given the consistent cases cited in Ohio State’s motion to dismiss rejecting fraudulent-

 concealment tolling in Title IX cases, it also is not surprising that plaintiffs found no Title IX

 cases supporting their fraudulent-concealment tolling theory. The cases plaintiffs do cite involve

 the same operative facts and the same university, Baylor University, and a single case involving

 the University of Idaho which relied on the Baylor cases. See Opp. (Doc. 11) at 25-26. The

 Baylor and Univ. of Idaho cases actually support Ohio State’s position that plaintiffs’ claims are

 time-barred. The Baylor and Univ. of Idaho cases held that the Title IX claims alleging the

 schools were deliberately indifferent to plaintiffs’ complaints of sexual assault (the “post-

 reporting” claims) were barred by the respective two-year statutes of limitations. See Doe 1 v.




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 Baylor Univ., 240 F. Supp. 3d 646, 663-664 (W.D. Tex. 2017); Lozano v. Baylor Univ., 408 F.

 Supp. 3d 861, 877, n.3 & n. 5 (W.D. Tex. 2019); Hernandez v. Baylor Univ., 274 F. Supp. 3d

 602, 617-618 (W.D. Tex. 2017); Jameson v. Univ. of Idaho, 2019 WL 5606828, at *4 (D. Idaho

 Oct. 30, 2019).

          In regard to the courts’ refusal to dismiss the Title IX claims alleging that the schools’

 conduct increased plaintiffs’ risks of being sexually assaulted (the so-called “heightened-risk”

 claims), the Baylor decisions were abrogated by the Fifth Circuit, which subsequently held: “We

 have never recognized or adopted a Title IX theory of liability based on a general ‘heightened

 risk’ of sex discrimination, and we decline to do so.” Poloceno v. Dallas Indep. Sch. Dist., No.

 20-10098, 2020 WL 5494511, at *3 (5th Cir. Sept. 10, 2020).8 Poloceno also distinguished other

 courts’ recognition of Title IX “heightened risk” claims on the ground that such courts “limit this

 theory of liability to contexts in which students committed sexual assault on other students,

 circumstances not present here.” Id.

          As Poloceno makes clear, it was critical that the underlying sexual abuse in the Baylor

 and Univ. of Idaho cases was student-on-student—not employee-on-student. Had the abuse been

 employee-on-student, as the plaintiffs allege here, the judge deciding the Baylor cases expressly

 acknowledged he would have held the claims were time-barred:

          The Fifth Circuit [in King-White] concluded that the plaintiffs’ Title IX claims
          accrued by the time the victim turned 18 because, even though the plaintiffs (the
          victim and her mother) did not know until later about certain school policies and
          prior complaints from other parents about the teacher, they knew the teacher was
          employed by the school, knew of the abuse, and knew the school had failed to
          stop the abuse—which, at the least, would have led a reasonable person to
          investigate further.

          Here, however, Plaintiff was sexually assaulted by another student. Unlike the
          plaintiffs in King-White, where the abuser was a school employee, Plaintiff

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  Plaintiffs cite no authority that the Supreme Court, the Sixth Circuit, any district court within the Sixth Circuit, or
 any federal court of appeals recognizes a Title IX “heightened risk” claim.


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          therefore had no reason to suspect that Baylor’s alleged deliberate indifference
          played a role in her assault.

 Hernandez, 274 F.Supp.3d at 617 (citing King-White v. Humble Ind. Sch. Dist., 803 F.3d 754,

 762-763 (5th Cir. 2015)). The above reasoning is consistent with the numerous Title IX cases

 cited in Ohio State’s motion to dismiss holding that the statute of limitations accrues at the time

 of the abuse when a plaintiff is aware of the claimed acts, the abuser’s identity, and that the

 abuser was an employee of the school. See MTD (Doc. 9) at 15 & n.4.

          No court which has recognized a “heightened risk” claim under Title IX has held that

 special accrual principles apply to such a claim for purposes of the statute of limitations.

 Additionally, unlike the plaintiffs in Baylor and Univ. of Idaho who had “no reason” to know of

 or investigate the universities’ conduct in creating the heightened risk of student-on-student

 sexual abuse until it was exposed by media coverage and/or the release of an independent

 investigation, see Doe 1, 240 F. Supp. 3d at 663 and Univ. of Idaho, 2019 WL 5606828, at *8,

 plaintiffs here expressly allege widespread knowledge of Strauss’ inappropriate conduct and of

 Ohio State’s deliberate indifference to it.9 Fraudulent-concealment tolling does not apply.

 IV.      PLAINTIFFS FAIL TO STATE A CLAIM FOR UNLAWFUL RETALIATON.

          Plaintiffs do not dispute that a plaintiff cannot state a claim for retaliation under Title IX

 unless he suffered a school- or education-related retaliatory action. See MTD (Doc. 9) at 18-20;

 Opp. (Doc. 11) at 28-29. Plaintiffs also admit that the alleged retaliatory acts which occurred

 beginning in the summer of 2018 were not school- or education-related adverse actions. Nor

 could they be because both plaintiffs were former students at that time.
 9
  Plaintiffs’ argument that the “clean hands doctrine” prevents dismissal of their claims also is meritless. Opp. (Doc.
 11) at 27. First, equitable defenses such as clean hands do not apply against governmental parties. Wooster v.
 Entm’t One, Inc., 2004-Ohio-3846, ¶ 69, 158 Ohio App. 3d 161, 184, 814 N.E.2d 521, 539. Second, as plaintiffs
 acknowledge, the clean hands doctrine applies only when a party is seeking “equitable relief.” Opp. (Doc. 11) at 27;
 see also O'Brien v. Ohio State Univ., 859 N.E.2d 607, 619 n.3 (Ct.of Cl. 2006), aff’d, 10th Dist. Franklin No. 06AP-
 9462007-Ohio-4833. Plaintiffs here seek legal and statutory relief (money damages and a declaration), and Ohio
 State’s motion to dismiss is based upon legal defenses—the statute of limitations and sovereign immunity.


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        Plaintiffs additionally fail to cite any cases holding that a non-school-related adverse act

 may support a Title IX retaliation claim. To the contrary, plaintiffs rely upon Jackson v.

 Birmingham Bd. of Educ., 544 U.S. 167 (2005) and Atkinson v. Lafayette College, 460 F.3d 447

 (3d Cir. 2006), both of which support Ohio State’s position that the alleged retaliatory act must

 be a school-related punishment. The plaintiffs in Jackson and Atkinson were current school

 employees who were terminated after they complained about sex discrimination. Termination of

 school employment is a school-related adverse action.

        Plaintiffs attempt to distinguish Gordon v. Traverse City Area Pub. Sch., 686 F. App’x

 315 (6th Cir. 2017) on the grounds that “the issue in the case was not the identity of the

 plaintiff(s) nor any admonition that the plaintiff must be a student.” Opp. (Doc. 11) at 29. In

 Gordon, the Sixth Circuit expressly stated that a plaintiff must plead he suffered an adverse

 “educational action” to state a Title IX retaliation claim. Gordon, 686 F. App’x at 320. The

 retaliatory acts at issue in Gordon were educational punishments—suspensions, in-class

 punishment, social alienation at school, and denial of the opportunity to take a class—against a

 current student after he complained about sex discrimination. Id. at 320-321.

        In contrast to Jackson, Atkinson, and Gordon, neither plaintiff here alleges that he was a

 student or employee at Ohio State who suffered an adverse educational action beginning in the

 summer of 2018. Accordingly, plaintiffs fail to state a retaliation claim under Title IX.

        Additionally, plaintiffs continue to assert that the purported retaliatory conduct was

 caused by Ohio State “former employees, friends and /or benefactors” whose conduct cannot be

 imputed to Ohio State. See Opp. (Doc. 11) at 28. Plaintiffs’ Title IX retaliation claim should be

 dismissed.




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 V.       SOVEREIGN IMMUNITY BARS PLAINTIFFS’ SECTION 1983 CLAIMS.10

          Plaintiffs make no attempt to distinguish the cases decided by this Court cited in Ohio

 State’s motion to dismiss holding that Eleventh Amendment sovereign immunity bars Section

 1983 claims specifically against Ohio State. MTD (Doc. 9) at 20-21. Plaintiffs also do not

 address Ohio State’s additional argument that plaintiffs fail to state Section 1983 claims because

 Ohio State is not a “person” subject to suit under Section 1983. See id. at 21. For these reasons

 alone, the Court should hold plaintiffs’ Section 1983 claims are barred by Eleventh Amendment

 sovereign immunity.

          In regard to the specific arguments plaintiffs make to support their position that their

 Section 1983 claims are not barred by Eleventh Amendment sovereign immunity, such

 arguments lack merit for the following reasons:

          1)      State instrumentalities, such as Ohio State, are immune from Section 1983 claims,
          in contrast to political subdivisions of states, such as municipalities and local government
          defendants, which are not. See id. at 20; Ernst v. Rising, 427 F.3d 351, 358 (6th Cir.
          2005).

          2)     Ohio State has not argued it is immune from suit under Title IX. Ohio State is,
          however, immune from suit for alleged violations of Section 1983. See MTD (Doc. 9) at
          20-21.

          3)      The Supreme Court’s holding that Congress has abrogated states’ sovereign
          immunity for back pay and attorneys’ fees resulting from violations of Title VII, is
          irrelevant. In Fitzpatrick v. Bitzer, 427 U.S, 445 (1976) the Court did not waive sovereign
          immunity for Section 1983 claims against states. See Will v. Michigan Dept. of State
          Police, 491 U.S. 58, syllabus (1989) (“That Congress, in passing [Section] 1983, had no
          intention to disturb the States’ Eleventh Amendment immunity and so alter the federal-
          state balance in that respect was made clear in our decision in Quern”) (citing Quern v.
          Jordan, 440 U.S. 332, syllabus (1979)).

          4)     Neither the State of Ohio nor Ohio State has waived immunity from suit in federal
          court under Section 1983. See MTD (Doc. 9) at 20-21. “[A] state’s waiver of sovereign

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    Plaintiffs misrepresent that Ohio State “asserts that this Court lacks subject matter jurisdiction on all claims.”
 Opp. (Doc. 11) at 14. That is not true. Ohio State asserts the Court lacks subject matter jurisdiction only over
 plaintiffs’ Section 1983 claims based on Eleventh Amendment sovereign immunity. See MTD (Doc. 9) at 20-21.



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        immunity in its own courts is not a waiver of the Eleventh Amendment immunity in the
        federal courts.” Pennhurst State Sch. & Hosp., 465 U.S. 100 n.9 (1984). Nihiser v. Ohio
        E.P.A., 269 F.3d 626 (6th Cir. 2001) addressed Section 504 of the Rehabilitation Act, not
        Section 1983.

        5)      Plaintiffs’ complaint does not seek prospective injunctive relief. See Compl.
        (Doc. 1) at Prayer for Relief. Even if it did, the Eleventh Amendment would still bar
        their Section 1983 claims because the “primary thrust” of plaintiffs’ lawsuit is to recover
        money damages. See Ernst v. Rising, 427 F.3d 351, 367-368, 371 (6th Cir. 2005) (Section
        1983 claims against the state in federal court were barred because “[t]he challenged
        requests for relief are either monetary by their very terms or are ancillary to nothing but
        monetary relief”); see Compl. (Doc. 1) at Prayer for Relief.

        6)     Plaintiffs’ argument that their Section 1983 claim is timely based on the
        “continuing violation” doctrine is meritless for the reasons previously discussed.

 VI.    LEAVE TO AMEND SHOULD BE DENIED.

        Plaintiffs’ alternative request for leave to file an amended complaint should be denied.

 Plaintiffs have had three years to perfect their complaint following the filing of the first Strauss

 complaint on July 16, 2018. See Garrett, Compl. (Doc. 1). Plaintiffs also are represented by the

 same counsel for plaintiffs in the Nutter and Ratliff cases, in which amended complaints were

 filed and Ohio State’s motions to dismiss have been pending since August 31, 2020. The

 complaint in the above-captioned action is modeled after, and virtually identical to, the amended

 complaints in the Nutter and Ratliff cases. Based on the motion to dismiss briefing in Nutter and

 Ratliff, plaintiffs have had clear notice of the numerous deficiencies in their complaint for more

 than a year. Granting leave to file another amended complaint would only cause undue delay.

        In addition, any amendments would be futile because they would not change the

 dispositive, immutable fact here—that plaintiffs’ claims based on conduct occurring decades ago

 are barred by the two-year statute of limitations. See, e.g., Feely v. Warden, Chillicothe Corr.

 Inst., No. 2:16-CV-619, 2018 WL 1905644, at *2 (S.D. Ohio Apr. 23, 2018) (Watson, J.) (“A

 motion to amend is appropriately denied if the amendment would result in undue delay or would




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 be futile.”) (citing Colvin v. Caruso, 605 F.3d 282, 294 (6th Cir. 2010)). Leave to amend should

 be denied.

 VII.   CONCLUSION.

        Given plaintiffs’ allegations, all meant to establish the sexual abuse and harm they

 endured, it is not plausible for their counsel to now advise the Court that they were not aware of

 their own circumstances and dealings with Strauss. This Court should review those allegations,

 applying its own “judicial experience and common sense” as required by Iqbal and Twombly,

 and hold that plaintiffs Title IX claims are time-barred. For the reasons stated above, plaintiffs’

 Complaint (Doc. 1) should be dismissed with prejudice.



                                              Respectfully submitted,

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                                              ATTORNEY GENERAL OF OHIO

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                                CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing was filed electronically on September 2,

 2021. Notice was sent by operation of the Court’s electronic filing system to all other counsel

 who have entered an appearance and any parties who have entered an appearance through

 counsel. The parties may access this filing through the Court’s ECF system.




                                             /s/ Michael H. Carpenter
                                             Trial Attorney for
                                             Defendant The Ohio State University




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